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                            Exhibit 3
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             Chicago Police Department                                                      General Order G04-01
             PRELIMINARY INVESTIGATIONS


 ISSUE DATE:                     30 December 2020                  EFFECTIVE DATE:           30 December 2020
 RESCINDS:                       15 October 2017 Version
 INDEX CATEGORY:                 04 - Preliminary Investigations
 CALEA:



I.      PURPOSE
        This directive:

        A.        informs Department members of the policy and immediate procedures for preliminary investigations
                  conducted by field personnel and the Alternate Response Section. Department members will refer to
                  the General Order "Alternate Response Section Case Reporting Policy" and the Special Order
                  "Preliminary Investigations" for additional procedural information.
        B.        continues the Public Safety Investigations.

        C.        provides instructions on interacting with victims, witnesses, and community members.

        D.        satisfies CALEA Law Enforcement standard in Chapter 42.

II.     POLICY

        A.        Fair, unbiased, and respectful interactions during calls for service and preliminary investigations
                  provide an opportunity to strengthen community trust and foster public confidence in the Department.
                  Department members will act, speak, and conduct themselves in a professional manner, recognizing
                  their obligation to safeguard life and property, and maintain a courteous, professional attitude in all
                  interactions with the public.

        B.        It is the policy of the Department to:

                  1.      respond as quickly and safely as possible when the assignment of a field unit is required, and

                  2.      to efficiently provide any needed police service.

III.    GENERAL PROCEDURES

        A.        Upon receipt of an assignment, Department members will acknowledge the assignment and field
                  units will proceed immediately to the assignment location, unless a supervisor orders the dispatcher
                  to reassign the call for service to another unit, consistent with the directive titled "Radio
                  Communications."

        B.        Members conducting any preliminary investigation, whether in-person or over the phone, will:

                  1.      conduct a thorough and accurate preliminary investigation.

                  2.      convey a sense of concern and general interest to all persons in need of police service,
                          including allowing the victim the opportunity to voice their concerns. A Department member's
                          response to calls for service can directly impact a victim's satisfaction, cooperation, and
                          willingness to participate in any continuing investigation.

                  3.      interview the victim or complainant to obtain the incident information, including pertinent
                          information on wanted persons, motor vehicles, or property taken in a specific crime, and
                          when appropriate, send a flash message to alert other Department units.




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                        NOTE:                When interacting with individuals with limited English proficiency or
                                             individuals with physical, emotional, or developmental disabilities,
                                             Department members will provide the proper available services, including
                                             translation services and other accommodations, consistent with the
                                             Department directives titled "Limited English Proficiency" and "People
                                             with Disabilities."

                4.      complete and submit all necessary reports and notifications, unless otherwise directed by a
                        supervisor. If required, the Department member conducting any preliminary investigation will:

                        a.      complete the proper case report consistent with the Department directive titled
                                "Department Reports and Letters of Clearance" in the presence of the
                                victim/complainant, when feasible.

                        b.      make all notifications as outlined in the Department directive titled "Preliminary
                                Investigations: Required Immediate Notifications."

                                NOTE:                 When necessary, the responding supervisor will ensure all
                                                      required notifications are complete.

                5.      inform the victim/complainant of the RD number and provide a completed Victim Information
                        Notice (CPD-11.383), Sexual Assault Incident Notice (CPD-23.404), Domestic Incident
                        Notice (CPD-11.443), Illinois Attorney General's Written Statement and Explanation of Rights
                        (OAG/CV-01/19), or any other Department documents required by the Department directives
                        titled "Department Reports and Letters of Clearance," "Crime Victim Assistance," and
                        "Domestic Incident Notice," as needed.

                        NOTE:                If applicable, ensure the victim signs and dates the bottom of the Illinois
                                             Attorney General's Written Statement and Explanation of Rights
                                             (OAG/CV-01/19).

                6.      refrain from discussing the details of any follow-up investigation to be conducted by the
                        Department, other than information, including the contact information, on the Department unit
                        responsible for the follow-up investigation of the incident.

                        NOTE:                Any questions about the specific details of the investigation will be
                                             referred to the appropriate investigative unit.

        C.      Department members WILL NOT investigate or arrest an individual when the member investigating or
                arresting is personally or financially involved or when the member's family member, friend,
                acquaintance, tenant, landlord, or other individual with personal or financial ties is involved.
                Department members will:

                1.      notify their supervisor when becoming aware of a personal or financial interest to the
                        investigation and request reassignment of the incident to an available response unit.

                2.      take appropriate police action, including arrest, when failure to take such action will result in a
                        crime being committed, there is an imminent risk of harm to an individual, or there is a risk
                        that evidence of a crime may be lost or destroyed.

                3.      document any notifications or actions taken in the appropriate Department reports, clearly
                        identifying the justification and results of such actions.

        D.      When a victim has decided not to proceed with charges, Department members will document the
                victim's decision not to prosecute and the specific reason(s) given for not prosecuting in the victim's
                own words in the narrative section of the pertinent report.

                1.      Department members will refrain from using the term "refusal to prosecute."

                        NOTE:                This is not language that a victim will normally use and can be an
                                             obstacle for prosecution if the victim later decides to proceed with
                                             criminal charges.


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                2.      Supervisors will not approve a report that states "victim refuses to prosecute," but will ensure
                        that the victim's terminology and specific reason(s) are documented (e.g., because the victim
                        has stated he or she is moving out of state; the victim stated the relationship has ended; the
                        victim believes this was an isolated incident; the victim wants to think about his or her
                        options, the victim only wanted to document the incident; and the victim refused to provide
                        specific reason when asked by reporting officer).

                3.      Members conducting domestic violence investigations are reminded that a victim's refusal to
                        sign a complaint does not defeat probable cause to arrest. Department members should refer
                        to the Department directive titled "Domestic Incidents", which outlines how to handle these
                        types of incidents.

        E.      Radio silence by a supervisor implies consent with the dispatcher's assignment of a unit to a call for
                service. Radio assignments will take precedence over on-view incidents unless those incidents are of
                an emergency nature or involve the safety of Department members or members of the public.

IV.     INCIDENT SCENE RESPONSIBILITIES

        A.      Upon arrival, Department members conducting the preliminary investigation will:

                1.      immediately request appropriate medical aid for any injured persons or persons who claim to
                        be injured. Department members may provide appropriate medical care consistent with the
                        member's training.

                2.      determine if there is reasonable belief that a crime has been or is being committed.

                3.      take appropriate action to stop the crime, if still in progress.

                4.      arrest the offender if still on or near the scene and probable cause for an arrest exists.

                5.      protect and preserve the crime scene for the collection and processing of evidence as
                        outlined in the Department directive titled "Crime Scene Protection and Processing."

                6.      locate, identify, and interview any witnesses, to obtain the incident information, including
                        pertinent information on wanted persons, motor vehicles, or property taken in a specific
                        crime, and when appropriate, send a flash message to alert other Department units.

                7.      when it is necessary for the assigned unit to leave the scene of the assignment (e.g., arrests,
                        transportation of injured persons, pursuit of offenders, touring the area with
                        victim/complainant):

                        a.      inform the Office of Emergency Management and Communications (OEMC)
                                dispatcher they are relocating from the scene and the reason they are relocating.

                        b.      furnish the exact location of their intended destination, if possible.

                        c.      if the intended destination cannot be furnished, maintain continued radio contact with
                                the dispatcher and report any change in location until available for a subsequent
                                assignment.

                        d.      for the transport of an arrested or detained individual, notify the OEMC dispatcher at
                                the start and end of the transport and if the individual transported is an adult or
                                juvenile.

                                NOTE:                 When transporting transgender, intersex, gender nonconforming
                                                      (TIGN) individuals and individuals with disabilities, Department
                                                      members will conduct the transport according to the procedures
                                                      outlined in the Department directives titled "Interactions with
                                                      Transgender, Intersex, and Gender Nonconforming (TIGN)
                                                      Individuals" and "People with Disabilities."




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                8.      for firearms discharge incidents, comply with the incident response, reporting, and
                        investigation procedures outlined in the Department directive titled "Firearms Discharge and
                        Officer-Involved Death Incident Response and Investigations."

                        NOTE:                 The member responsible for the initial case report will report all factual
                                              information (e.g., victim, witness, offender, location) within the boxes on
                                              the case report. The narrative will state: "For narrative and investigative
                                              details, refer to the Detective Supplementary Report filed under this
                                              Records Division (RD) number."

                9.      upon completion of the preliminary investigation, promptly return to an "in service" status.

        B.      The OEMC dispatcher will make an entry into the Police Computer Aided Dispatch (PCAD) event for
                the incident to record any change in location as provided by field personnel, enabling the dispatcher
                to provide correct locations and other pertinent information to supervisors.

V.      TREATMENT OF VICTIMS, WITNESSES, AND COMMUNITY MEMBERS
        Department members will:

        A.      interact with victims, witnesses, and community members with courtesy, dignity, and respect.

        B.      not transport victims, witnesses, and community members unnecessarily, without a law enforcement
                purpose, or inconsistent with the mission of the Department.

        C.      not transport an individual for the purpose of intentionally displaying or leaving the individual in
                locations where known rivals or enemies live or congregate.

        D.      not hold or detain witnesses against their will at a district station or other Department facility.

        E.      inform victims of the appropriate victim assistance and resources including, but not limited to,
                providing the written victim information notices, consistent with the Department directive titled "Crime
                Victim Assistance."

VI.     PUBLIC SAFETY INVESTIGATIONS
        A Public Safety Investigation will be conducted anytime a Department member is involved in a firearm
        discharge or officer-involved death incident.

        A.      The Public Safety Investigation Instructions card (CPD-11.921) will be used by the assigned
                supervisor on the scene who is responsible for directing the initial response and the protection of the
                incident scene.

        B.      The Public Safety Investigation for firearms discharge and officer-involved death incidents involving
                sworn members will be conducted consistent with the Department directive titled "Firearm Discharge
                and Officer-Involved Death Incident Response and Investigation."

(Items indicated by italics/double underline have been added or revised)



                                                                        David O. Brown
                                                                        Superintendent of Police
19-044 RMP/MWK


ADDENDA:

        1.      G04-01-01 - Alternate Response Section Case Reporting Policy
        2.      G04-01-03 - Preliminary Investigations Conducted at Suburban Hospitals




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